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                         BEFORE THE JUDICIAL PANEL ON
                           MULTIDISTRICT LITIGATION

                        MDL No. 875 - In re Asbestos Litigation

        Roger Nelson, et al. v. Crane Co., et al., District of Hawaii, C.A. No. 1:11-00402



                                   PROOF OF SERVICE

              The undersigned hereby certifies that a copy of the foregoing was duly served

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